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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


    ELIZABETH SINES, et al.,
                                                          Civil Action No. 3:17-cv-00072-NKM
                                   Plaintiffs,
    v.                                                        JURY TRIAL DEMANDED
    JASON KESSLER, et al.,

                                   Defendants.


                                                 NOTICE

           Plaintiffs, by and through counsel, wish to inform the Court that on October 6, 2021 they

   were notified by Case Manager Nathan Simpkins of the United States Penitentiary (Marion, IL)

   that Defendant Christopher Cantwell began his transport to Charlottesville, Virginia on October 5,

   2021.

           Plaintiffs will continue to serve Defendant Cantwell at his current designated location for

   service, in Marion, Illinois, until they learn of a new designated location for service for Defendant

   Cantwell in the Commonwealth of Virginia.

           Upon Plaintiffs learning of the new designated location for service, they will re-serve

   Defendant Cantwell with any submissions by Plaintiffs dated October 4, 2021 onward.

    Dated: October 7, 2021                            Respectfully submitted,

                                                      /s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
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                                                      rcahill@cooley.com

                                                      Counsel for Plaintiffs
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                                        CERTIFICATE OF SERVICE

        I hereby certify that on October 7, 2021, I filed the foregoing with the Clerk of Court through the
   CM/ECF system, which will send a notice of electronic filing to:

    Justin Saunders Gravatt                               James E. Kolenich
    David L. Hauck                                        Kolenich Law Office
    David L. Campbell                                     9435 Waterstone Blvd. #140
    Duane, Hauck, Davis & Gravatt, P.C.                   Cincinnati, OH 45249
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    Richmond, VA 23220
    jgravatt@dhdglaw.com                                  Elmer Woodard
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                                                          isuecrooks@comcast net
    Counsel for Defendant James A. Fields, Jr.
                                                          Counsel for Defendants Jason Kessler, Nathan
    W. Edward ReBrook                                     Damigo, and Identity Europa, Inc. (Identity Evropa)
    The ReBrook Law Office
    6013 Clerkenwell Court                                Joshua Smith Esq.
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    rebrooklaw@gmail.com                                  Pittsburgh, PA 15216
                                                          joshsmith2020@gmail.com
    Counsel for Defendants National Socialist Movement,
    Nationalist Front, Jeff Schoep, Matthew Heimbach,     Counsel for Matthew Heimbach, Matthew Parrott and
    Matthew Parrott and Traditionalist Worker Party       Traditionalist Worker Party

    Bryan Jones
    106 W. South St., Suite 211
    Charlottesville, VA 22902
    bryan@bjoneslegal.com

    Counsel for Defendants Michael Hill,
    Michael Tubbs, and League of the South

           I further certify that on October 7, 2021, I also served the foregoing upon following non-ECF pro
   se defendants and participants, via electronic mail or First Class U.S. Mail, as follows:

    Richard Spencer                                       Elliott Kline
    richardbspencer@gmail.com                             eli.f mosley@gmail.com
    richardbspencer@icloud.com                            deplorabletruth@gmail.com
                                                          eli.r kline@gmail.com
    Robert Ray
    azzmador@gmail.com                                    VIA U.S. Mail (to be re-served upon knowledge of
                                                          Mr. Cantwell’s new Virginia location)
                                                          Christopher Cantwell
    Vanguard America                                      Inmate 00991-509
    c/o Dillon Hopper                                     USP Marion
    dillon_hopper@protonmail.com                          U.S. Penitentiary
                                                          P.O. Box 2000
                                                          Marion, IL 62959

                                                          /s/ Robert T. Cahill
                                                          Robert T. Cahill
